                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 1 of 38


 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                            ❑Check if this is an
                                                                                                                                               amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
         representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑      Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑      A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑      Amended Schedule

         ✔
         ❑      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
         ❑      Other document that requires a declaration Schedule A/B - Exhibit 1




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on 06/17/2021
                          MM/ DD/ YYYY
                                                                                 ✘ /s/ Rehan Rehman
                                                                                      Signature of individual signing on behalf of debtor


                                                                                       Rehan Rehman
                                                                                      Printed name


                                                                                      General Manager
                                                                                      Position or relationship to debtor




Official Form B202                                         Declaration Under Penalty of Perjury for Non-Individual Debtors
                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 2 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                               ❑Check if this is an
                                                                                                                                                   amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                                  12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete                  Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code            and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                   creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                                   professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                                   services, and           or disputed      setoff to calculate unsecured claim.
                                                                                   government                               Total claim, if     Deduction for        Unsecured
                                                                                   contracts)                               partially           value of             claim
                                                                                                                            secured             collateral or
                                                                                                                                                setoff
1     Comcast                                                                      Internet services                                                                           $760.00
      1 Comcast Ctr
      Philadelphia, PA 19103-2838


2     Internal Revenue Service                                                                                                                                             $34,800.67
      Po Box 7346
      Philadelphia, PA 19101-7346


3     SH Ventures, LLP                                                                                     Disputed                                                       $375,000.00
      c/o Steve Host
      201 Jackson St
      Richmond, TX 77469-3106

4




5




6




7




8




Official Form 204                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
                           Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 3 of 38

Debtor       Park 4 Less, LLC                                                                                  Case number (if known)                  21-31686
            Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                          creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                          professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                          services, and           or disputed      setoff to calculate unsecured claim.
                                                                          government                               Total claim, if     Deduction for        Unsecured
                                                                          contracts)                               partially           value of             claim
                                                                                                                   secured             collateral or
                                                                                                                                       setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 4 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                     Type of account                 Last 4 digits of account number
       3.1 IBC Account 8711                                                  Checking account                       8711                                          $20.00

       3.2 IBC Account 0605                                                  Checking account                       0605                                          $54.53

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                                   $74.53
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑No. Go to Part 3.
       ✔Yes. Fill in the information below.
       ❑
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 DSDY, LLC.                                                                                                                                            $8,000.00




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                        page 1
                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 5 of 38

Debtor        Park 4 Less, LLC                                                                                          Case number (if known)            21-31686
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
                                                                                                                                                                $8,000.00
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ✔ No. Go to Part 4.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                                           -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts



         11b. Over 90 days old:                                              -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                                     $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 6 of 38

Debtor       Park 4 Less, LLC                                                                                   Case number (if known)            21-31686
             Name



         None


  17.    Total of Part 4
                                                                                                                                                             $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                               $0.00


  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.


Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 7 of 38

Debtor        Park 4 Less, LLC                                                                                  Case number (if known)            21-31686
             Name



         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                                 $0.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑



Official Form 106A/B                                                           Schedule A/B: Property                                                   page 4
                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 8 of 38

Debtor        Park 4 Less, LLC                                                                                   Case number (if known)            21-31686
             Name



         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

              computers (5) $1,000, chairs (4) $40, foldable tables (2)                            (Unknown)                                             $1,470.00
         39.1 $50,printer/fax/copier $80, Tv monitor (3) $300


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         None


  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                         $1,470.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                               Net book value of   Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest   for current value          interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


              2006 Lincoln Navigator / Titled in name of owner but used for                        (Unknown)                                                  $0.00
         47.1 business


         47.2 2007 Ford E350 / E350 Shuttle Bus                                                    (Unknown)                                             $6,500.00



Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 9 of 38

Debtor        Park 4 Less, LLC                                                                                        Case number (if known)            21-31686
             Name



         47.3 2007 Ford E350 / E350 Shuttle Bus                                                    (Unknown)                                                  $6,500.00


         Additional Page Total - See continuation page for additional entries                                                                                $39,000.00

  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         48.1 2003 ACG Goose Neck Enclosed Police Command Trailer                                  (Unknown)                                                 $25,000.00



  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         50.1 2000 Fleetwood Pace - Arrow RV / RV                                                  (Unknown)                                                 $13,000.00


         Additional Page Total - See continuation page for additional entries                                                                               $449,400.00

  51.    Total of Part 8
                                                                                                                                                            $539,400.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ❑No
         ✔Yes
         ❑

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56.    Total of Part 9
                                                                                                                                                                   $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.




Official Form 106A/B                                                              Schedule A/B: Property                                                      page 6
                            Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 10 of 38

Debtor        Park 4 Less, LLC                                                                                     Case number (if known)            21-31686
             Name



  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ❑No. Go to Part 11.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                           Net book value of       Valuation method used        Current value of debtor's
                                                                                       debtor's interest       for current value            interest
                                                                                          (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         61.1 Web site- Park 4 Less                                                               (Unknown)                                                  $100.00


  62.    Licenses, franchises, and royalties

              License with City of Houston airport system- permit for                             (Unknown)                                                  $100.00
         62.1 passenger pickup and drop


  63.    Customer lists, mailing lists, or other compilations

         63.1 Customer lists                                                                      (Unknown)                                                  $100.00


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         65.1 Park for Less, LLC.                                                                 (Unknown)                                                  $100.00


  66.    Total of Part 10
                                                                                                                                                             $400.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
Official Form 106A/B                                                           Schedule A/B: Property                                                      page 7
                            Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 11 of 38

Debtor        Park 4 Less, LLC                                                                              Case number (if known)            21-31686
             Name


  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                     Current value of debtor's
                                                                                                                                     interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

              General Liability Insurance Policy through Texas All Risk General                                                                   (Unknown)
         73.1 Agency


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         74.1 Park 4 Less vs. DSDY Real Estate, LLC.                                                                                              (Unknown)
         Nature of Claim      breach of contract
         Amount Requested         (Unknown)



         Additional Page Total - See continuation page for additional entries                                                                            $0.00

  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         None


  78.    Total of Part 11
                                                                                                                                                         $0.00
         Add lines 71 through 77. Copy the total to line 90.



Official Form 106A/B                                                            Schedule A/B: Property                                              page 8
                           Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 12 of 38

Debtor       Park 4 Less, LLC                                                                               Case number (if known)   21-31686
             Name



  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                          Schedule A/B: Property                                      page 9
                                  Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 13 of 38

Debtor         Park 4 Less, LLC                                                                                                                  Case number (if known)         21-31686
              Name



 Part 12: Summary


         Type of property                                                                            Current value of                                Current value
                                                                                                     personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                  $74.53

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                    $8,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                            $0.00

  83. Investments. Copy line 17, Part 4.                                                                                    $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                      $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                             $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy line
      43, Part 7.                                                                                                       $1,470.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $539,400.00


                                                                                                                                          ➔                             $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                      $400.00

  90. All other assets. Copy line 78, Part 11.                                                  +                           $0.00



  91. Total. Add lines 80 through 90 for each column......                                  91a.                      $549,344.53       + 91b.                          $0.00



                                                                                                                                                                                     $549,344.53
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                                 page 10
                            Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 14 of 38

Debtor        Park 4 Less, LLC                                                                                Case number (if known)            21-31686
             Name



          Additional Page


         General description                                                           Net book value of    Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest    for current value          interest
         N-number)                                                                     (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued

         47.4 2007 Ford E350 / E350 Shuttle Bus                                                 (Unknown)                                             $6,500.00

         47.5 2007 Ford E350 / E350 Shuttle Bus                                                 (Unknown)                                             $6,500.00

         47.6 2007 Ford E350 / E350 Shuttle Bus                                                 (Unknown)                                             $6,500.00

         47.7 2007 Ford E350 / E350 Shuttle Bus                                                 (Unknown)                                             $6,500.00

         47.8 2007 Ford E350 / E350 Shuttle Bus                                                 (Unknown)                                             $6,500.00

         47.9 2007 Ford E350 / E350 Shuttle Bus                                                 (Unknown)                                             $6,500.00

  50. Other machinery, fixtures, and equipment - Continued

         50.2 Equipment - Exhibit 1                                                             (Unknown)                                           $449,400.00


                                                                                                                                       Current value of debtor's
                                                                                                                                       interest

  74. Causes of action against third parties (whether or not a lawsuit has been filed) - Continued
              Claim against DSDY Real Estate, LLC. (Landlord) for stay
         74.2 violation
         Nature of Claim     Violation of automatic stay
         Amount Requested         (Unknown)                                                                                                         (Unknown)




Official Form 106A/B                                                             Schedule A/B: Property                                              page 11
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 15 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                             ❑Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ✔ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ❑
      ❑Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims

 2.List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,        Column A                     Column B
   list the creditor separately for each claim.
                                                                                                                           Amount of claim              Value of collateral that
                                                                                                                           Do not deduct the            supports this claim
                                                                                                                           value of collateral.
 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                         $0.00




Official Form 206D                                            Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
                          Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 16 of 38

Debtor      Park 4 Less, LLC                                                                                    Case number (if known)               21-31686
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 2
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 17 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                     Total claim                   Priority amount

2.1 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $34,800.67                    $10,279.67
       Internal Revenue Service                                      Check all that apply.
                                                                     ❑ Contingent
       Po Box 7346                                                   ❑ Unliquidated
       Philadelphia, PA 19101-7346                                   ❑ Disputed
                                                                     Basis for the Claim:
       Date or dates debt was incurred


                                                                     Is the claim subject to offset?
       Last 4 digits of account                                      ✔ No
                                                                     ❑
       number                                                        ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address                  As of the petition filing date, the claim is:
2.2                                                                  Check all that apply.
                                                                     ❑ Contingent
                                                                     ❑ Unliquidated
                                                                     ❑ Disputed
                                                                     Basis for the claim:
       Date or dates debt was incurred

                                                                     Is the claim subject to offset?
       Last 4 digits of account                                      ❑ No
       number                                                        ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 5
                           Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 18 of 38

Debtor       Park 4 Less, LLC                                                                                       Case number (if known)                21-31686
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   unknown
                                                                               Check all that apply.
       City of Houston
                                                                               ✔ Contingent
                                                                               ❑
       Attn: Legal Department                                                  ✔ Unliquidated
                                                                               ❑
                                                                               ✔ Disputed
                                                                               ❑
       P. O. Box 1560                                                          Basis for the claim: Lawsuit on signs
       Houston, TX 77251                                                       Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $760.00
       Comcast                                                                 Check all that apply.
                                                                               ❑ Contingent
       1 Comcast Ctr                                                           ❑ Unliquidated
                                                                               ❑ Disputed
       Philadelphia, PA 19103-2838
                                                                               Basis for the claim: Internet services
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   unknown
       Internal Revenue Service                                                Check all that apply.
                                                                               ❑ Contingent
       1919 Smith St Stop 5022 HOU                                             ❑ Unliquidated
                                                                               ❑ Disputed
       Houston, TX 77002
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   unknown
3.4                                                                            Check all that apply.
       Internal Revenue Service
                                                                               ❑ Contingent
       Po Box 7346                                                             ❑ Unliquidated
                                                                               ❑ Disputed
       Philadelphia, PA 19101-7346
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $375,000.00
3.5                                                                            Check all that apply.
       SH Ventures, LLP
                                                                               ❑ Contingent
       c/o Steve Host                                                          ❑ Unliquidated
                                                                               ✔ Disputed
                                                                               ❑
       201 Jackson St
                                                                               Basis for the claim:
       Richmond, TX 77469-3106                                                 Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
       Date or dates debt was incurred
                                                                               ❑ Yes
       Last 4 digits of account number




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2 of 5
                           Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 19 of 38

Debtor      Park 4 Less, LLC                                                                              Case number (if known)             21-31686
           Name




 Part 2: Additional Page

3.6 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                 unknown
      United Site Services of Texas, Inc.                            Check all that apply.
                                                                     ❑ Contingent
      421 Little York Rd                                             ❑ Unliquidated
                                                                     ❑ Disputed
      Houston, TX 77076-1124
                                                                     Basis for the claim: Toilets
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred                                 ✔ No
                                                                     ❑
     Last 4 digits of account number                                 ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                 unknown
      Viking Fence Co., Ltd                                          Check all that apply.
                                                                     ❑ Contingent
      9602 Gray Blvd                                                 ❑ Unliquidated
                                                                     ❑ Disputed
     Austin, TX 78758-5408
                                                                     Basis for the claim:
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred                                 ✔ No
                                                                     ❑
     Last 4 digits of account number                                 ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3 of 5
                            Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 20 of 38

Debtor       Park 4 Less, LLC                                                                                    Case number (if known)               21-31686
             Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


         Name and mailing address                                                      On which line in Part 1 or Part 2 is the related            Last 4 digits of
                                                                                       creditor (if any) listed?                                   account number,
                                                                                                                                                   if any

 4.1     Nelson, Joanna                                                               Line 3.1

         City of Houston Legal Department                                             ❑ Not listed. Explain
         900 Bagby St # 4
         Houston, TX 77002-2527




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 4 of 5
                          Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 21 of 38

Debtor       Park 4 Less, LLC                                                                         Case number (if known)   21-31686
             Name


 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $34,800.67




  5b. Total claims from Part 2                                                        5b.              $375,760.00
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $410,560.67
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                            page 5 of 5
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 22 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686                       Chapter   11
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is          Commercial real estate                     DSDY Real Estate, LLC
2.1     for and the nature of the debtor’s
        interest                                     Contract to be ASSUMED                     c/o Derek Schmidt

        State the term remaining                                                                12710 Taylorcrest Rd
                                                     0 months
                                                                                                Houston, TX 77024-4026
        List the contract number of any
        government contract

        State what the contract or lease is          Portable toilets                           National Construction Rentals
2.2     for and the nature of the debtor’s
        interest                                     Contract to be ASSUMED                     PO BOX 841461

        State the term remaining                                                                Los Angeles, CA 90084
                                                     0 months
        List the contract number of any
        government contract

        State what the contract or lease is          Credit card processing                     First Data
2.3     for and the nature of the debtor’s
        interest                                     Contract to be ASSUMED                     1600 Terrell Mill Rd SE

        State the term remaining                                                                Marietta, GA 30067
                                                     0 months
        List the contract number of any
        government contract

        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract




Official Form 206G                                              Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 23 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                         ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ✔No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1
                                                  Street




                                                  City                                State         ZIP Code



  2.2
                                                  Street




                                                  City                                State         ZIP Code



  2.3
                                                  Street




                                                  City                                State         ZIP Code



  2.4
                                                  Street




                                                  City                                State         ZIP Code



  2.5
                                                  Street




                                                  City                                State         ZIP Code




Official Form 206H                                                         Schedule H: Codebtors                                                              page 1 of 2
                         Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 24 of 38

Debtor      Park 4 Less, LLC                                                                             Case number (if known)     21-31686
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 2 of 2
                                        Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 25 of 38


 Fill in this information to identify the case:

 Debtor name                                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                                 Southern District of Texas

 Case number (if known):                                  21-31686                               Chapter           11
                                                                                                                                                                                                      ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                                 $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                            $549,344.53

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                          $549,344.53




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                                   $0.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $34,800.67


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +              $375,760.00




 4. Total liabilities..............................................................................................................................................................................                          $410,560.67

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                    page 1
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 26 of 38

 Fill in this information to identify the case:

 Debtor name                                      Park 4 Less, LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas

 Case number (if known):                 21-31686
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
          Identify the beginning and ending dates of the debtor’s fiscal year, which may          Sources of revenue                       Gross revenue
          be a calendar year                                                                       Check all that apply                    (before deductions and
                                                                                                                                           exclusions)

         From the beginning of the                                                                ✔ Operating a business
                                                                                                  ❑                                                             $210,000.00
         fiscal year to filing date:              From 01/01/2021
                                                         MM/ DD/ YYYY
                                                                         to    Filing date
                                                                                                  ❑Other

         For prior year:                          From 01/01/2020        to    12/31/2020         ✔ Operating a business
                                                                                                  ❑                                                             $418,000.00
                                                         MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other

         For the year before that:                From 01/01/2019        to    12/31/2019         ✔ Operating a business
                                                                                                  ❑                                                             $617,851.00
                                                         MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                                  Description of sources of revenue        Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the
       fiscal year to filing date:            From 01/01/2021           to    Filing date
                                                        MM/ DD/ YYYY


       For prior year:                        From 01/01/2020           to    12/31/2020
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY


       For the year before that:              From 01/01/2019           to    12/31/2019
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 1
                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 27 of 38

Debtor           Park 4 Less, LLC                                                                                      Case number (if known)                  21-31686
               Name



 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ✔None
    ❑

    Creditor’s name and address                                Dates               Total amount or value              Reasons for payment or transfer
                                                                                                                      Check all that apply


 3.1.                                                                                                                 ❑Secured debt
        Creditor's name                                                                                               ❑Unsecured loan repayments
                                                                                                                      ❑Suppliers or vendors
                                                                                                                      ❑Services
        Street

                                                                                                                      ❑Other
        City                         State     ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ✔None
    ❑
    Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



 4.1.
        Creditor's name


        Street




        City                         State     ZIP Code

         Relationship to debtor



 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ✔None
    ❑
    Creditor’s name and address                                Description of the property                                   Date                      Value of property



 5.1.
        Creditor's name


        Street




        City                         State     ZIP Code



Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 2
                              Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 28 of 38

Debtor           Park 4 Less, LLC                                                                                       Case number (if known)                  21-31686
               Name


 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ✔None
    ❑
    Creditor’s name and address                                 Description of the action creditor took                       Date action was           Amount
                                                                                                                              taken


 5.1.
        Creditor's name
                                                                 XXXX–
        Street




        City                         State     ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ❑None
 7.1.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         The City of Houston vs. Rehan                                                       Harris County Civil Court at Law No. 2                    ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         Rehman, Park 4 Less, LLC.                                                          Name

                                                                                                                                                       ❑Concluded
                                                                                             201 Caroline 517
                                                                                            Street
         Case number

         1160805                                                                             Houston, TX 77002
                                                                                            City                             State    ZIP Code

 7.2.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         Park 4 Less vs. DSDY Real                Suit for title to property                 164th Judicial District Court                             ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         Estate, LLC.                                                                       Name

                                                                                                                                                       ❑Concluded
                                                                                             201 Caroline St.
                                                                                            Street
         Case number

         2021-22237                                                                          Houston, TX 77002
                                                                                            City                             State    ZIP Code

 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑




Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                              page 3
                               Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 29 of 38

Debtor            Park 4 Less, LLC                                                                                      Case number (if known)                21-31686
                Name


 8.1.     Custodian’s name and address                          Description of the property                             Value


         Custodian’s name
                                                                Case title                                              Court name and address
         Street
                                                                                                                       Name

                                                                Case number                                            Street
         City                          State     ZIP Code



                                                                Date of order or assignment                            City                          State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ✔None
    ❑
 9.1.     Recipient’s name and address                          Description of the gifts or contributions                       Dates given          Value


         Recipient’s name


         Street




         City                          State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔None
        ❑
        Description of the property lost and how the loss          Amount of payments received for the loss                           Date of loss      Value of property
        occurred                                                   If you have received payments to cover the loss, for                                 lost
                                                                   example, from insurance, government compensation, or
                                                                   tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                   Assets – Real and Personal Property).


 10.1.


 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
        person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
        ❑None




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 4
                             Case 21-31686 Document 12 Filed in TXSB on 06/17/21 Page 30 of 38

Debtor          Park 4 Less, LLC                                                                                      Case number (if known)                 21-31686
                Name


 11.1.    Who was paid or who received the transfer?              If not money, describe any property transferred                Dates                 Total amount or
                                                                                                                                                       value

         Baker & Associates                                                                                                      05/21/2021                      $5,000.00


          Address

         950 ECHO LN STE 200
         Street


         Houston, TX 77024
         City                        State     ZIP Code


          Email or website address

         reese.baker@bakerassociates.net

          Who made the payment, if not debtor?

         Reese Baker



 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

 12.1.     Name of trust or device                              Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                               were made               value




           Trustee




 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ✔None
     ❑

 13.1.    Who received the transfer?                           Description of property transferred or payments                  Date transfer         Total amount or
                                                               received or debts paid in exchange                               was made              value




          Address


         Street




         City                         State     ZIP Code


          Relationship to debtor




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Debtor          Park 4 Less, LLC                                                                                       Case number (if known)               21-31686
                Name


 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
    Address                                                                                                         Dates of occupancy


 14.1.                                                                                                            From                          To
         Street




         City                            State     ZIP Code



 Part 8: Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.

          Facility name and address                           Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

 15.1.
         Facility name


         Street                                               Location where patient records are maintained(if different from facility    How are records kept?
                                                              address). If electronic, identify any service provider.
         City                       State     ZIP Code                                                                                   Check all that apply:
                                                                                                                                         ❑Electronically
                                                                                                                                         ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ✔ No.
     ❑
     ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes




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Debtor          Park 4 Less, LLC                                                                                          Case number (if known)                 21-31686
                Name


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
        ✔No. Go to Part 10.
        ❑
        ❑Yes. Does the debtor serve as plan administrator?
              ❑No. Go to Part 10.
              ❑Yes. Fill in below:
                       Name of plan                                                                         Employer identification number of the plan

                                                                                                             EIN:           –

                       Has the plan been terminated?
                       ❑No
                       ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
        transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
        associations, and other financial institutions.
        ✔None
        ❑
    Financial institution name and address                     Last 4 digits of account         Type of account             Date account was              Last balance
                                                               number                                                       closed, sold, moved,          before closing
                                                                                                                            or transferred                or transfer

 18.1                                                          XXXX–                           ❑Checking
         Name
                                                                                               ❑Savings
                                                                                               ❑Money market
                                                                                               ❑Brokerage
         Street


                                                                                               ❑Other
         City                         State   ZIP Code

 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔None
        ❑
 19.1     Depository institution name and address              Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑    Yes
         Street

                                                               Address

         City                         State   ZIP Code



 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
        business.
        ✔None
        ❑



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Debtor           Park 4 Less, LLC                                                                                          Case number (if known)                 21-31686
                Name


 20.1      Facility name and address                              Names of anyone with access to it             Description of the contents                    Does debtor
                                                                                                                                                               still have it?

                                                                                                                                                             ❑    No
         Name
                                                                                                                                                             ❑    Yes
          Street

                                                                  Address

         City                           State    ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
        rented property.
        ✔None
        ❑

    Owner’s name and address                                     Location of the property                      Description of the property                    Value


   Name


   Street




   City                               State     ZIP Code

 Part 12: Details About Environmental Information



         For the purpose of Part 12, the following definitions apply:
                Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
                affected (air, land, water, or any other medium).
                Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
                or utilized.
                Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
                substance.
         Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
        ✔ No
        ❑
        ❑Yes. Provide details below.

    Case title                                          Court or agency name and address                      Nature of the case                             Status of case

                                                                                                                                                            ❑Pending
    Case number
                                                       Name
                                                                                                                                                            ❑On appeal
                                                                                                                                                            ❑Concluded
                                                       Street




                                                       City                           State   ZIP Code




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Debtor           Park 4 Less, LLC                                                                                       Case number (if known)             21-31686
                 Name


 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


    Site name and address                               Governmental unit name and address                Environmental law, if known                 Date of notice


   Name                                                Name


   Street                                              Street




   City                      State      ZIP Code       City                          State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Site name and address                               Governmental unit name and address                Environmental law, if known                 Date of notice


   Name                                                Name


   Street                                              Street




   City                      State      ZIP Code       City                          State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
     even if already listed in the Schedules.
     ❑None

           Business name and address                          Describe the nature of the business                 Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
          TABS ENT, Inc.                                                                                         EIN:          –
          Name
          9894 Bissonnet                                                                                          Dates business existed
          Street
          c/o Nazish Abbari                                                                                      From                   To

          Houston, TX 77036
          City                      State   ZIP Code


 26. Books, records, and financial statements

 26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
     ✔None
     ❑

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Debtor       Park 4 Less, LLC                                                                          Case number (if known)            21-31686
             Name


           Name and address                                                                        Dates of service

 26a.1.
                                                                                                  From                     To
          Name


          Street




          City                                     State                   ZIP Code



 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
          financial statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                        Dates of service

 26b.1.
                                                                                                  From                     To
          Name


          Street




          City                                     State                   ZIP Code



 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                        If any books of account and records are
                                                                                                   unavailable, explain why
 26c.1.


          Name


          Street




          City                                     State                   ZIP Code




 26d. List   all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
        a financial statement within 2 years before filing this case.
        ✔None
        ❑
           Name and address

 26d.1.
          Name


          Street




          City                                     State                   ZIP Code




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Debtor          Park 4 Less, LLC                                                                                      Case number (if known)                21-31686
                Name


 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     ✔ No
     ❑
     ❑Yes. Give the details about the two most recent inventories.

    Name of the person who supervised the taking of the inventory                                    Date of            The dollar amount and basis (cost, market, or
                                                                                                     inventory          other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                         State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

    Name                               Address                                                         Position and nature of any interest     % of interest, if any


                                                                                                      ,                                        0.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
    Name                               Address                                                         Position and nature of any      Period during which
                                                                                                       interest                        position or interest was held



                                                                                                 ,                                           From
                                                                                                                                             To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ✔ No
     ❑
     ❑Yes. Identify below.




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Debtor          Park 4 Less, LLC                                                                           Case number (if known)              21-31686
                Name


          Name and address of recipient                                     Amount of money or              Dates                   Reason for providing
                                                                            description and value of                                the value
                                                                            property

 30.1.
         Name


         Street




         City                                  State        ZIP Code


          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                               EIN:          –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the pension fund                                                            Employer Identification number of the pension fund

                                                                                               EIN:          –

 Part 14: Signature and Declaration




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Debtor      Park 4 Less, LLC                                                                                        Case number (if known)                21-31686
           Name


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


      I declare under penalty of perjury that the foregoing is true and correct.


      Executed on         06/17/2021
                      MM/ DD/ YYYY




           ✘ /s/ Rehan Rehman
               Signature of individual signing on behalf of the debtor



                Position or relationship to debtor
                          General Manager



         Printed name                            Rehan Rehman



          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           ✔ No
           ❑
           ❑Yes




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